Case 21-30589-MBK           Doc 1620      Filed 03/03/22 Entered 03/03/22 15:34:32               Desc Main
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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.N.J. LBR 9004-1(b)

  GENOVA BURNS LLC
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  Proposed Local Counsel to Official Committee of
  Talc Claimants I
                                                                    Case No.:          21-30589
                                                                                    _______________
  In Re:
                                                                    Adv. Pro. No.: _______________
  LTL MANAGEMENT, LLC,
                                                                    Chapter:              11
                                                                                    _______________
                                       Debtor.
                                                                    Subchapter V:      Yes  No

                                                                                     3/08/2022
                                                                    Hearing Date: _______________

                                                                    Judge:               MBK
                                                                                    _______________

                                        ADJOURNMENT REQUEST

 1.                      Donald Clarke
           I, ___________________________________,
                                       Official Committee of Talc Claimants I ("TCC I")
            am the attorney for: ______________________________________________________,
            am self-represented,

           and request an adjournment of the following hearing for the reason set forth below.
                   Retention of financial advisors to TCC I & II [Docs 1134, 1244, and 1426]
           Matter: ________________________________________________________________________
                                          March 8, 2022
           Current hearing date and time: ____________________________
                               March 30, 2022
           New date requested: ____________________________________
                                           Issues affecting scope of retention to be addressed by
           Reason for adjournment request: ___________________________________________________
           Your Honor at the hearing scheduled for March 8, 2022.
           ______________________________________________________________________________

 2.        Consent to adjournment:

            I have the consent of all parties.  I do not have the consent of all parties (explain below):
           This request is made with consent of the Debtor, the Office of the United States Trustee,
           ______________________________________________________________________________
            and Official Committee of Talc Claimants II ("TCC II").
           ______________________________________________________________________________
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 I certify under penalty of perjury that the foregoing is true.


        3/2/2022
 Date: ___________________________                            /s/Don Clarke
                                                             _______________________________
                                                             Signature




 COURT USE ONLY:

 The request for adjournment is:

  Granted                                            3/30/2022 at 10:00 am
                                   New hearing date: ________________________           Peremptory
  Granted over objection(s)       New hearing date: ________________________           Peremptory
  Denied


           IMPORTANT: If your request is granted, you must notify interested parties
           who are not electronic filers of the new hearing date.




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